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                                   6
                                       Attorneys for Defendant
                                   7   LVNV Funding LLC
                                   8

                                   9

                                  10                       UNITED STATES DISTRICT COURT
                                  11                      CENTRAL DISTRICT OF CALIFORNIA
633 W. Fifth Street, Suite 2800




                                  12
   Los Angeles, CA 90071
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                                  13   MAUREEN DELANEY,                         Case No.: 2:22-cv-03079-MCS-JEM
                                  14                      Plaintiff,
                                                                                 DEFENDANT’S ANSWER TO
                                  15   vs.                                       COMPLAINT
                                  16
                                       LVNV FUNDING LLC d/b/a
                                  17   TRUEACCORD CORP.,
                                  18                     Defendant.
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                                                            DEFENDANT’S ANSWER TO COMPLAINT
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                                   1           Defendant LVNV Funding LLC (erroneously sued as “LVNV Funding LLC
                                   2   d/b/a Trueaccord Corp.”) (“Defendant”), by and through its undersigned counsel,
                                   3   hereby states its answer and affirmative defenses to the Complaint of Plaintiff
                                   4   Maureen Delaney (“Plaintiff”), as follows:
                                   5                                           INTRODUCTION1
                                   6           1.    Answering Paragraph 1, the allegations consist of legal conclusions to
                                   7   which no response is required. To the extent a response is required, Defendant denies
                                   8   the allegations to the extent that they misstate the law. Defendant further states that
                                   9   the referenced statutes speak for themselves.
                                  10           2.    Answering Paragraph 2, the allegations consist of legal conclusions to
                                  11   which no response is required. To the extent a response is required, Defendant denies
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                                  12   the allegations to the extent that they misstate the law. Defendant further states that
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                                  13   the referenced statutes speak for themselves.
                                  14           3.    Answering Paragraph 3, the allegations consist of legal conclusions to
                                  15   which no response is required. To the extent a response is required, Defendant denies
                                  16   the allegations to the extent that they misstate the law.
                                  17           4.    Answering Paragraph 4, Defendant admits that Plaintiff alleges claims
                                  18   against Defendant. Defendant denies that it does business as “TRUEACCORD
                                  19   CORP.,” denies any express or implied allegation of wrongdoing, and denies that it
                                  20   caused Plaintiff damages. To the extent that Paragraph 4 contains any additional
                                  21   allegations, Defendant denies them.
                                  22           5.    Answering Paragraph 5, Defendant is without sufficient knowledge or
                                  23   information to form a belief as to the truth of the allegations, and on that basis, denies
                                  24   them.
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                                  27   1 The Complaint’s headings are repeated herein for organizational purposes only, but should be
                                       considered denied.
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                                                                         CERTIFICATE OF SERVICE
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                                   1           6.    Answering Paragraph 6, Defendant denies any express or implied
                                   2   allegation that it violated any statute(s). Defendant is without sufficient knowledge or
                                   3   information to form a belief as to the truth of the remaining allegations of Paragraph 6,
                                   4   and on that basis, denies them.
                                   5           7.    Answering Paragraph 7, Defendant is without sufficient knowledge or
                                   6   information to form a belief as to the truth of the allegations, and on that basis, denies
                                   7   them.
                                   8           8.    Answering Paragraph 8, Defendant denies the allegations.
                                   9           9.    Answering Paragraph 9, Defendant is without sufficient knowledge or
                                  10   information to form a belief as to the truth of the allegations, and on that basis, denies
                                  11   them.
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                                  12           10.   Answering Paragraph 10, Defendant admits only that Plaintiff’s
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                                  13   Complaint attempts to allege violations of the Fair Debt Collection Practices Act
                                  14   (“FDCPA”) and the Rosenthal Fair Debt Collection Practices Act (“RFDCPA”).
                                  15   Defendant denies any express or implied allegation of wrongdoing and specifically
                                  16   denies violating these statutes.
                                  17                                  JURISDICTION AND VENUE
                                  18           11.   Answering Paragraph 11, the allegations consist of legal conclusions to
                                  19   which no response is required. To the extent a response is required, Defendant denies
                                  20   the allegations to the extent that they misstate the law.
                                  21           12.   Answering Paragraph 12, Defendant admits only that Plaintiff’s
                                  22   Complaint attempts to allege violations of the FDCPA and RFDCPA. Defendant
                                  23   denies any express or implied allegation of wrongdoing and specifically denies
                                  24   violating these statutes.
                                  25           13.   Answering Paragraph 13, the allegations consist of legal conclusions to
                                  26   which no response is required. To the extent a response is required, Defendant denies
                                  27   the allegations to the extent that they misstate the law.
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                                                               DEFENDANT’S ANSWER TO COMPLAINT
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                                   1         14.    Answering Paragraph 14, the allegations contain legal conclusions to
                                   2   which no response is required. To the extent a response is required, Defendant denies
                                   3   the allegations to the extent that they misstate the law. Defendant specifically denies
                                   4   that it “engaged in debt collection communications with Plaintiff,” denies any express
                                   5   or implied allegation of wrongdoing, denies that it caused injury to Plaintiff, and
                                   6   denies that it violated the RFDCPA. To the extent that Paragraph 14 contains any
                                   7   additional allegations, Defendant denies them.
                                   8                                           PARTIES
                                   9         15.    Answering Paragraph 15, Defendant admits that Plaintiff is a natural
                                  10   person. Defendant further states that the allegations of Paragraph 15 contain legal
                                  11   conclusions to which no response is required. To the extent a response is required,
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                                  12   Defendant denies the allegations to the extent that they misstate the law. Defendant
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                                  13   further states that the referenced statutes speak for themselves. Defendant is without
                                  14   sufficient knowledge or information to form a belief as to the truth of the remaining
                                  15   allegations of Paragraph 15, and on that basis, denies them.
                                  16         16.    Answering Paragraph 16, Defendant admits that it is a Delaware limited
                                  17   liability company. Defendant further admits that some of the accounts owned by
                                  18   Defendant pertain to California residents. Defendant denies the remaining allegations
                                  19   of Paragraph 16.
                                  20         17.    Answering Paragraph 17, admits only that it acquires debt. Defendant
                                  21   further states that the allegations of Paragraph 17 consist of legal conclusions to which
                                  22   no response is required. To the extent a response is required, Defendant denies the
                                  23   allegations to the extent that they misstate the law. Defendant further states that the
                                  24   referenced statutes speak for themselves.
                                  25         18.    Answering Paragraph 18, the allegations consist of legal conclusions to
                                  26   which no response is required. To the extent a response is required, Defendant denies
                                  27   the allegations to the extent that they misstate the law. Defendant further states that
                                  28   the referenced statutes speak for themselves.

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                                                              DEFENDANT’S ANSWER TO COMPLAINT
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                                   1                                   FACTUAL ALLEGATIONS
                                   2           19.   Answering Paragraph 19, Defendant admits that Plaintiff is an individual.
                                   3   Defendant is without sufficient knowledge or information to form a belief as to the
                                   4   truth of the remaining allegations of Paragraph 19, and on that basis, denies them.
                                   5           20.   Answering Paragraph 20, Defendant admits that that, at one time, the
                                   6   subject account was a Mercury Financial credit card account. Defendant states that
                                   7   the remaining allegations consist of legal conclusions to which no response is
                                   8   required. To the extent a response is required, Defendant denies the allegations to the
                                   9   extent that they misstate the law. Defendant further states that the referenced statutes
                                  10   speak for themselves.
                                  11           21.   Answering Paragraph 21, Defendant admits that the subject account is
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                                  12   delinquent.
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                                  13           22.   Answering Paragraph 22, Defendant admits that it acquired the subject
                                  14   account.
                                  15           23.   Answering Paragraph 23, Defendant denies the allegations.
                                  16           24.   Answering Paragraph 24, Defendant is without sufficient knowledge or
                                  17   information to form a belief as to the truth of the allegations, and on that basis, denies
                                  18   them.
                                  19           25.   Answering Paragraph 25, Defendant denies that counsel for Plaintiff
                                  20   contacted Defendant. Defendant is without sufficient knowledge or information to
                                  21   form a belief as to the truth of the remaining allegations of Paragraph 25, and on that
                                  22   basis, denies them.
                                  23           26.   Answering Paragraph 26, Defendant denies that it ever sent an email to
                                  24   Plaintiff and denies any affiliation with the email address
                                  25   “melinda@email.truaccord.com.” Defendant is without sufficient knowledge or
                                  26   information to form a belief as to the truth of the remaining allegations of Paragraph
                                  27   26, and on that basis, denies them.
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                                                               DEFENDANT’S ANSWER TO COMPLAINT
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                                   1         27.      Answering Paragraph 27 and its subparagraphs, Defendant denies the
                                   2   allegations.
                                   3         28.      Answering Paragraph 28, Defendant denies the allegations.
                                   4         29.      Answering Paragraph 29, Defendant denies the allegations.
                                   5         30.      Answering Paragraph 30, Defendant denies the allegations.
                                   6         31.      Answering Paragraph 31, Defendant denies the allegations.
                                   7         32.      Answering Paragraph 32, Defendant denies the allegations.
                                   8         33.      Answering Paragraph 33, Defendant denies the allegations, and further
                                   9   denies that Plaintiff suffered any damages whatsoever.
                                  10                         CAUSES OF ACTION CLAIMED BY PLAINTIFF
                                  11                                           COUNT I
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                                  12                           VIOLATION OF § 1692C OF THE FDCPA
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                                  13         34.      Answering Paragraph 34, Defendant repeats, realleges, and incorporates
                                  14   by reference all other answering Paragraphs, as if set forth fully herein.
                                  15         35.      Answering Paragraph 35, Defendant denies the allegations.
                                  16         36.      Answering Paragraph 36, Defendant denies the allegations, and further
                                  17   denies that Plaintiff suffered any damages whatsoever.
                                  18                                          COUNT II
                                  19        VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
                                  20                          Cal. Civ. Code §§ 1788 et seq. (RFDCPA)
                                  21         37.      Answering Paragraph 37, Defendant repeats, realleges, and incorporates
                                  22   by reference all other answering Paragraphs, as if set forth fully herein.
                                  23         38.      Answering Paragraph 38, Defendant denies the allegations.
                                  24         39.      Answering Paragraph 39, Defendant denies the allegations, and further
                                  25   denies that Plaintiff suffered any damages whatsoever.
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                                                               DEFENDANT’S ANSWER TO COMPLAINT
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                                   1                                     PRAYER FOR RELIEF
                                   2         Answering Plaintiff’s unnumbered paragraph requesting relief, and the bullet
                                   3   point subparagraphs therein, Defendant denies that Plaintiff is entitled to the requested
                                   4   relief as against Defendant, or any other relief whatsoever.
                                   5                                       TRIAL BY JURY
                                   6         40.    Answering Plaintiff’s demand for trial by jury, numbered Paragraph 40
                                   7   of the Complaint, Defendant admits that Plaintiff requests a trial by jury.
                                   8                               AFFIRMATIVE DEFENSES
                                   9                            FIRST AFFIRMATIVE DEFENSE
                                  10         1.     Plaintiff fails to state a claim upon which relief can be granted against
                                  11   Defendant.
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                                  12                          SECOND AFFIRMATIVE DEFENSE
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                                  13         2.     Defendant is entitled to a set-off against any award to Plaintiff.
                                  14                            THIRD AFFIRMATIVE DEFENSE
                                  15         3.     Plaintiff’s claims are barred in whole or in part by the applicable statute
                                  16   of limitations.
                                  17                          FOURTH AFFIRMATIVE DEFENSE
                                  18         4.     Plaintiff is barred from obtaining the relief sought in the Complaint by
                                  19   the doctrines of estoppel, waiver, unclean hands, laches, or other equitable doctrines.
                                  20                            FIFTH AFFIRMATIVE DEFENSE
                                  21         5.     Plaintiff’s claims are barred in whole or in part because Plaintiff has
                                  22   failed to mitigate her alleged damages, if any.
                                  23                            SIXTH AFFIRMATIVE DEFENSE
                                  24         6.     Plaintiff’s claims are barred in whole or in part because Plaintiff
                                  25   consented to, ratified, or acquiesced in all of the alleged acts or omissions alleged.
                                  26                          SEVENTH AFFIRMATIVE DEFENSE
                                  27         7.     Defendant’s conduct was privileged or justified.
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                                                               DEFENDANT’S ANSWER TO COMPLAINT
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                                   1                          EIGHTH AFFIRMATIVE DEFENSE
                                   2         8.     Plaintiff has waived any and all claims, rights and demands made in the
                                   3   Complaint.
                                   4                           NINTH AFFIRMATIVE DEFENSE
                                   5         9.     Plaintiff’s claims may be barred because any alleged acts or omissions of
                                   6   Defendant giving rise to Plaintiff’s claims, if any, were the result of an innocent
                                   7   mistake and/or bona fide error notwithstanding reasonable procedures implemented by
                                   8   Defendant to avoid any such acts or omissions. Defendant at all times acted in a
                                   9   reasonable manner in connection with the transactions at issue in this action.
                                  10                           TENTH AFFIRMATIVE DEFENSE
                                  11         10.    Plaintiff’s claims may be barred because the acts or omissions of which
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                                  12   Plaintiff complains have been approved or mandated, implicitly or expressly, by
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                                  13   applicable statutes and regulations.
                                  14                        ELEVENTH AFFIRMATIVE DEFENSE
                                  15         11.    Plaintiff’s claims may be barred because Defendant at all times complied
                                  16   in good faith with all applicable statutes and regulations.
                                  17                         TWELFTH AFFIRMATIVE DEFENSE
                                  18         12.    Defendant specifically denies that it acted with any willfulness,
                                  19   oppression, or malice towards Plaintiff.
                                  20                       THIRTEENTH AFFIRMATIVE DEFENSE
                                  21         13.    If Plaintiff suffered or sustained any loss, injury, damage, or detriment, it
                                  22   was directly and proximately caused and contributed to by the breach, conduct, acts,
                                  23   omissions, activities, carelessness, recklessness, negligence, or intentional misconduct
                                  24   of others, and not by Defendant.
                                  25                       FOURTEENTH AFFIRMATIVE DEFENSE
                                  26         14.    If Plaintiff suffered or sustained any loss, injury, damage, or detriment, it
                                  27   was directly and proximately caused and contributed to by the intervening acts of
                                  28   others, and not by Defendant.

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                                                              DEFENDANT’S ANSWER TO COMPLAINT
                                  Case 2:22-cv-03079-MCS-JEM Document 10 Filed 06/12/22 Page 9 of 11 Page ID #:74



                                   1                        FIFTEENTH AFFIRMATIVE DEFENSE
                                   2         15.    If Plaintiff prevails against Defendant, Defendant’s liability is limited to
                                   3   its own actionable segment of fault, if any.
                                   4                        SIXTEENTH AFFIRMATIVE DEFENSE
                                   5         16.    As a separate, affirmative defense, Defendant alleges that Plaintiff’s
                                   6   Complaint fails as a matter of law due to lack of standing to bring this action.
                                   7                      SEVENTEENTH AFFIRMATIVE DEFENSE
                                   8         17.    Plaintiff did not suffer concrete harm and thus does not have Article III
                                   9   standing. TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2197 (2021) (Article III
                                  10   standing requires a concrete injury even in the context of a statutory violation).
                                  11                       EIGHTEENTH AFFIRMATIVE DEFENSE
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                                  12         18.    Defendant states that Plaintiff’s claims may be governed by a contractual
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                                  13   mandatory arbitration provision contained in an agreement with the original creditor.
                                  14                       NINETEENTH AFFIRMATIVE DEFENSE
                                  15         19.    Plaintiff’s claims are barred in whole or in part because restricting the
                                  16   conduct complained-of constitutes an unconstitutional limitation on commercial
                                  17   speech under the First Amendment of the United States Constitution.
                                  18                        TWENTIETH AFFIRMATIVE DEFENSE
                                  19         20.    Defendant specifically gives notice that it intends to rely upon such other
                                  20   defenses as may become available by law, or pursuant to statute, or during any further
                                  21   discovery proceedings of this case, and hereby reserves the right to amend its Answer
                                  22   and assert such defenses.
                                  23         WHEREFORE, Defendant prays for judgment as follows:
                                  24         1.     That Plaintiff takes nothing from Defendant by way of the Complaint;
                                  25         2.     For costs of suit herein;
                                  26         3.     For attorney’s fees to the extent available by law or contract; and
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                                                              DEFENDANT’S ANSWER TO COMPLAINT
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                                   1         4.   For such other and further relief as this Court may deem just and proper.
                                   2

                                   3   DATED: June 12, 2022.               YU | MOHANDESI LLP
                                   4
                                                                           By      /s/ B. Ben Mohandesi
                                   5
                                                                                B. Ben Mohandesi
                                   6                                            Attorneys for Defendant LVNV Funding
                                   7
                                                                                LLC

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                                                            DEFENDANT’S ANSWER TO COMPLAINT
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                                   1                              CERTIFICATE OF SERVICE
                                   2         I certify that on June 12, 2022, a copy of the foregoing was filed and served
                                   3   electronically in the ECF system. Notice of this filing will be sent to the parties of
                                   4   record by operation of the Court’s electronic filing system and parties may access this
                                   5   filing through the Court’s system.
                                   6

                                   7   DATED: June 12, 2022
                                   8
                                                                               By      /s/ B. Ben Mohandesi
                                   9                                                B. Ben Mohandesi
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                                                                      CERTIFICATE OF SERVICE
